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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

DARLA HITT                                                                          PLAINTIFF

v.                                      NO. 4:18cv135-DPM

RUSSELLVILLE HOLDINGS, LLC                                                          DEFENDANT


                               AGREED PROTECTIVE ORDER

       Plaintiff Darla Hitt and Defendant Russellville Holdings, LLC, have requested that a

Protective Order be entered and, good cause appearing therefore, it is so ordered by the Court as

follows:

       1.       Both parties agree that discovery in this case will include the production of

confidential information including hospital policies and procedures and personnel information to

potentially include financial information, payroll records, and medical information of plaintiff and

similarly situated employees. For purposes of this case the term "confidential information" shall

be deemed to refer to all documents produced and designated by any party as "confidential" during

the course of discovery in this case.

       2.       The following shall govern as to all "confidential information":

       a)       All documents produced under this Order will be designated as confidential and the

information contained therein shall be used only for the purpose of the prosecution, defense, or

settlement of this action and for no other purpose. Social security numbers may be redacted from

documents produced under the terms of this Order.

       b)       Confidential documents shall be so designated by stamping copies of the

documents produced with the legend "CONFIDENTIAL" or "CONFIDENTIAL SUBJECT TO

PROTECTIVE ORDER" or similar language to identify the documents as being subject to this


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order. The designation on the cover of any multi-page documents shall designate all pages of the

document as confidential unless otherwise noted.

       3.      Confidential material pursuant to this Order may be disclosed or made available to

the Court, to counsel for a party (including the paralegal, clerical and secretarial staff employed

by such counsel), and, to the "qualified" persons designated below:

       a)      Experts or consultants (together with their clerical staff) retained by such counsel

to assist in the prosecution, defense or settlement of this action;

       b)      Court reporters employed in this action;

       c)      To a witness at a deposition or other proceeding in this action with the express

understanding that any portions of that testimony describing or otherwise addressing confidential

information will be maintained as confidential as well.

       d)      Any other person to whom the parties, in writing, agree or as directed by the Court

by specific order.

       Prior to receiving any confidential information each "qualified" person shall be provided

with a copy of this Order and shall be subject to its terms and conditions.

       4.      Confidential Information shall not be filed on the public docket. If practicable, it shall

be redacted. Fed. R. Civ. P. 5.2. If an entire page contains Confidential Information , substituting a

page marked "Redacted" is an acceptable redaction method. If redaction is impracticable, a party must

move for permission to file any Confidential Information and any related motion, brief, or paper,

containing that material under seal. The moving party must justify sealing with specifics and solid

reasons, including an explanation about why redaction cannot be done.

        5.     This Order shall not be deemed to prejudice the parties in any way nor shall any

application for modification of this Order or to later seek production of other documents objected

to by an opposing party. All designations of confidentiality shall be made based on a good faith

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belief that the document(s) should, in fact, be subject to the confidentiality order. A party may

oppose a confidentiality designation or redaction in writing within twenty days of the designation,

at which time the parties shall engage in a good faith effort to resolve the issue. If the parties can't

resolve the issue, they must file a joint report pursuant to the Final Scheduling Order, NQ 9 at 3.

       6.        This Order is entered solely for the purpose of expediting and facilitating the

exchange of documents and information between the parties in this action without additional

involvement by the Court unnecessarily in this process. Nothing in this Order or the production

of any information or document under the terms of this Order or any proceedings pursuant to this

Order shall be deemed of the effect of an admission or waiver by either party or of allowing the

confidentiality or non-confidentiality of any such document or information or altering any

obligation of any party in the absence thereof.

        7.       This Order shall remain in effect for one year after this case ends, including any

appeal. Thereafter, the obligations imposed shall continue, but shall be solely a matter of contract

between the parties. Upon termination of this case, counsel in possession of confidential materials

shall ensure their continued confidentiality unless and until those documents are returned to the

party providing them or certified as destroyed.

        IT IS SO ORDERED.




                                                HONORABLE D.P. MARSHALL JR.
                                                UNITED STATES DISTRICT COURT JUDGE



                                                DATE




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